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 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
     LEEMANUEL WEILCH,                               Case No.: 2:20-cv-09313 AB (JEMx)
11                                                   Hon. André Birotte Jr.
                  Plaintiff,                         ORDER GRANTING STIPULATION
12
                                                     FOR DISMISSAL OF THE ENTIRE
13         vs.                                       ACTION
14
     HWASH CORP. D/B/A BOURBON
15   STREET LIQUOR; OLGA
16
     WAINBERG, AS TRUSTEE OF THE
     SALOMON WAINBERG AND OLGA
17   WAINBERG FAMILY TRUST; and
18
     DOES 1 to 10,

19                Defendants.
20

21
     Based on the stipulation of the parties and for good cause shown:
22
           IT IS HEREBY ORDERED that the entire action be dismissed with prejudice,
23
     all parties to bear their own fees and costs.
24
           IT IS SO ORDERED.
25

26
           DATED: February 9, 2021                    _______________________________
27                                                    André Birotte Jr.
28                                                    United States District Court Judge
